I do not concur in holding that a service of notice by mail is "personal" service. The attempted "personal" service on the attorney by mailing him a copy of the notice of appeal was not accepted, but on the contrary was promptly refused and the party seeking to appeal was advised to make personal service pursuant to the court order. This was not done and the motion to dismiss the appeal should have been granted.
The statute (Act No. 288, chap. 1, § 40, Pub. Acts 1939 [Comp. Laws Supp. 1940, § 16289-1 (40), Stat. Ann. 1943 Rev. § 27.3178 (40)]) governing appeals from probate court to the circuit court is as follows:
"The appellant shall give notice of such appeal to the adverse party or parties with his reasons therefor, *Page 193 
in such manner as the probate court shall direct, within 20 days from the date of the order directing the manner of such service, unless the adverse party or parties shall in writing, filed in the circuit court, waive such notice."
The probate court order directing the manner of service was as follows:
"It is ordered * * * that said appellant give notice of said appeal and of the hearing thereof in said circuit court to Flossie O. Vollendorf and Essie I. Camp, the adverse parties, by personal service upon them or their attorney of record of a copy of said claim of appeal."
The proof of service filed in the matter not only fails to show personal service, but in fact negatives such method of service by affirmatively showing that service was made by mail.
The statute, supra, directing the manner of service is mandatory and affects the jurisdiction of the court.
In Sokup v. Davis' Estate, 206 Mich. 144, the circuit court proceeded to hear an appeal from probate court after denying a motion to dismiss the appeal made on the ground that notice of appeal had not been served in the manner directed by the court. This court held that the circuit court was without jurisdiction to hear the appeal (pp. 151, 152):
"Here, as appears by the record, the notice of appeal was not served on the defendant, or adverse party, within 15 days, as shown by the proof of service. The order of the probate court, as appears by the journal entry bearing date January 24, 1918, directed notice of the appeal to be given personally. As appears by the record, this notice was not given until February 9, 1918, more than 15 days from the date of the order. There is no claim that the defendant *Page 194 
waived notice of the service. We think the statute requiring this service within a certain time is mandatory, and one affecting the jurisdiction of the circuit court. Merriman v. Jackson CircuitJudge, 95 Mich. 277; Bennett v. Hickey, 110 Mich. 628;Hosey v. Ionia Circuit Judge, 120 Mich. 280. * * *
"So in any view which we are able to take of the case, we are constrained to hold that the circuit court was without jurisdiction, and that the motions to dismiss the appeal should have been granted. This is not a case where an application for a delayed appeal has been made and considered by the circuit court. It is a case where that court has failed to obtain jurisdiction of the case, by reason of non-compliance with the statutory requirements."
In 1899, when Hosey v. Ionia Circuit Judge, 120 Mich. 280, was decided, the statute (3 How. Stat. § 6782) was substantially the same as now, and required that the party appealing from a probate court order should file evidence that notice had been given to the adverse party "according to the order of the probate court." In that case the probate court had ordered notice to be given four persons, naming them, "by delivering to them a certified copy of this order." The notice was personally served on all except one of them, James Hosey, and proof of service by mail was filed as to him. A motion was made to dismiss the appeal on the ground that no sufficient service was made on James Hosey. Whether or not the notice was actually received by James Hosey by mail does not appear. The motion was denied by the circuit judge. On mandamus this court directed the circuit judge to set aside the order of denial and dismiss the appeal, and said (pp. 281, 282):
"The service made was not in compliance with the order of the probate court, which required personal *Page 195 
service upon all the parties named. * * * The statute requiring notice to the adverse party is mandatory, and, until the party is given such notice, the circuit court has no jurisdiction over the parties to the record. Merriman v. Jackson Circuit Judge,95 Mich. 277. The order made by the probate court required personal service. The notice by mail was not sufficient notice."
The above case is identical with the instant case in that in both cases service by mail was attempted, by mailing the notice of appeal to an adverse party, and proof of such service was shown by affidavit in both cases. The only difference is that in the Hosey Case there is no showing whether the mailed notice was received, while in the case at bar it was received by the attorney but promptly returned and acceptance of such service by mail refused. The principle of law is the same — service by mail is not personal service as required by the statute in both these cases, and jurisdiction of the circuit court does not depend on whether or not there is evidence that the mail was received, so long as the statute requiring personal service was not complied with.
In the case at bar service of the notice of appeal on the adverse party is in the same category as service of an original writ or summons after the filing of a declaration or bill of complaint in a court of record. It is the service of process, or of the notice of appeal, that gives the circuit court jurisdiction over the person of the adverse party, or the defendant. The filing of a declaration or bill of complaint may confer jurisdiction over the subject matter, but not jurisdiction over the adverse party or defendant. That can be obtained only by service in accordance with the applicable statute.
"It is the general rule that, if a statute prescribes a method for serving process, the method must be *Page 196 
followed." Lyon v. Baldwin, 194 Mich. 118, 122 (L.R.A. 1917C, 148).
"The manner of this service being a departure from the common law, must accord strictly with the statutory requirements, and such statute has been held to be mandatory. 21 R.C.L.p. 1280."Knopf v. Herta, 212 Mich. 622, 629.
"The manner of securing jurisdiction over the person of a defendant by the service of process is statutory. * * * The judgment was void for want of jurisdiction in the court to render it." Preferred Automobile Insurance Co. v. Oakland CircuitJudge, 247 Mich. 67, 70.
"Service of process may only be made in the manner prescribed by law." Defoe v. Wayne Circuit Judge, 252 Mich. 337, 339.
"Proper service is necessary for the court to acquire jurisdiction over the parties." Union Guardian Trust Co. v.Grevnin, 261 Mich. 344, 347.
In the instant case it is apparent that the statute, read in connection with the court order, requires personal service. It is argued that service by ordinary mail is a sufficient compliance with the statute provided it is proven that the adverse party actually received the notice by mail, even though he promptly refused to accept such service for some reason — either good or bad — expressed by him. I hold that jurisdiction over the person cannot be obtained in that manner.
In McCaslin v. Camp, 26 Mich. 390, plaintiff had obtained a judgment against Camp in justice court, and leave was granted Camp by the circuit court to take an appeal, on account of his having been prevented from taking it by circumstances beyond his control. Service of notice of the petition for leave to appeal was made by mail. The circuit court *Page 197 
granted the appeal, denied a motion to rescind, and subsequently entered judgment on the appeal. This court set aside the judgment and dismissed the appeal, and in so doing said (p. 392):
"But there was no proper service of any notice whatever. This was indispensable. McCaslin had obtained a judgment which could only be assailed by an original proceeding in the circuit court. The application for the allowance of an appeal, although not a regular suit or action, is nevertheless a special proceeding materially affecting the legal rights of a judgment creditor, who has never been brought before within the jurisdiction. The court cannot, therefore, obtain authority to assume any control over him, except in the same way in which it can get control over other respondents. This must always be by personal service, unless there are circumstances of necessity, which would authorize a substituted service, to save the rights in question. Whether this could be had without statutory authority, we need not now consider, as no such service has been provided for by any existing rule. The rule of the circuit court practice, which allows these notices to be the same as on special motions, refers to the time of service. There is no rule of court authorizing service by mail, of any papers, in cases, or upon persons, notalready before the court, and subject to its completejurisdiction. There can be no mail service on parties or attorneys who have not appeared generally in the cause before the circuit court, and are not already in court."
Nor can it be said in the instant case that the attorney's receipt of the notice of appeal by mail constitutes a waiver of the statutory requirement for personal service. According to the statute, in order to be considered as a waiver of the service as directed by the probate court, the waiver must be in writing and filed in the circuit court. There is no claim of compliance with this requirement. *Page 198 
No time need be spent demonstrating that "personal" service means service on one personally. In this State several methods of service are recognized by various statutes and court rules, such as personal service, service by publication, service by registered mail. Personal service and service by mail are not one and the same method of service.
In this case the circuit court did not obtain jurisdiction over the persons of the adverse parties. The writ prayed for should issue directing the circuit court to set aside the order denying the motion to dismiss the appeal and directing that the appeal be dismissed, with costs to appellants.
CARR, BUSHNELL, SHARPE, NORTH, and STARR, JJ., concurred with BOYLES, J.